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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )              CASE NO. 8:16CR102
                                              )
              Plaintiff,                      )
                                              )
              vs.                             )              TENTATIVE FINDINGS
                                              )
GIOVANNY NAVA,                                )
                                              )
              Defendant.                      )

       The Court has received the 2nd Revised Presentence Investigation Report and

Addendum (“PSR”), and the Defendant's objections (Filing No. 85). See Amended Order

on Sentencing Schedule, ¶ 6. The Court takes note that the government did not filed a

formal objection, but it did present an objection in the Addendum to the PSR, objecting to

Paragraph #49, and both parties object to the gun enhancement. The Court advises the

parties that these Tentative Findings are issued with the understanding that, pursuant to

United States v. Booker, 543 U.S. 220 (2005), the sentencing guidelines are advisory.

       Accordingly,

       IT IS ORDERED:

       1.     The Defendant’s Objection to Presentence Report (Filing No. 85) will be

heard at the sentencing hearing.

       2.     The Court intends to adopt the PSR in all other respects;

       3.     If any party wishes to challenge these tentative findings, the party shall

immediately file in the court file and serve upon opposing counsel and the Court a motion

challenging these tentative findings, supported by (a) such evidentiary materials as are

required (giving due regard to the requirements of the local rules of practice respecting the

submission of evidentiary materials), (b) a brief as to the law, and (c) if an evidentiary
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hearing is requested, a statement describing why an evidentiary hearing is necessary and

an estimated length of time for the hearing;

      4.     Absent submission of the information required by paragraph 3 of this Order,

these amended tentative findings are final; and

      5.     Unless otherwise ordered, any motion challenging these tentative findings

shall be resolved at sentencing.

      DATED this 18th day of October, 2016.

                                         BY THE COURT:


                                         s/Laurie Smith Camp
                                         Chief United States District Judge
